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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

FUSE, LLC, et al.,1                                          Case No. 19-10872 (KG)

                     Debtors.                                (Joint Administration Requested)


         NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

                 PLEASE TAKE NOTICE that Arnold & Porter Kaye Scholer LLP and Morris,

Nichols, Arsht & Tunnell LLP hereby appear as counsel for AT&T Services, Inc. and affiliates

including without limitation DIRECTV, LLC (“AT&T”) pursuant to section 1109(b) of title 11

of the United States Code, rules 2002, 3017(a), 9007, and 9010 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 2002-1(d) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, and request that copies of any and all notices and papers filed or entered in these cases

be given to and served upon the following:

    ARNOLD & PORTER KAYE SCHOLER                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP
    LLP                                                  Derek C. Abbott (No. 3376)
    Brian J. Lohan                                       1201 North Market Street, Suite 1600
    70 West Madison Street                               Wilmington, DE 19801
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    Chicago, IL 60602-4231                               Facsimile: (302) 658-3989
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         The Debtors and the last four digits of their taxpayer identification numbers include: Fuse Media, Inc.
         (9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions, LLC (5499); SCN Distribution,
         LLC (9656); Latino Events LLC (8204); Fuse Holdings LLC (5673); Fuse Finance, Inc. (8683); and FM
         Networks LLC (6500). The Debtors' headquarters and service address is 700 North Central Avenue, Suite
         600, Glendale, CA 91203.
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  AT&T SERVICES, INC.
  James W. Grudus
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  Room 3A115
  Bedminster, NJ 07921
  908- 234-3318
  jg5786@att.com


               PLEASE TAKE FURTHER NOTICE that this constitutes not only a request

for service of the notices and papers referred to in the Bankruptcy Rules specified above, but also

includes, without limitation, a request for service of all orders and notices of any application,

motion, petition, pleading, request, complaint, or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, courier service, hand delivery,

telephone, facsimile transmission, telegraph, telex, or otherwise, that (1) affects or seeks to affect

in any way any rights or interests of any creditor or party in interest in this case, with respect to

(a) the debtors in the above-captioned case (the “Debtors”) and any related adversary

proceedings, whether currently pending or later commenced; (b) property of the Debtors’ estates,

or proceeds thereof, in which the Debtors may claim an interest; or (c) property or proceeds

thereof in the possession, custody, or control of others that the Debtors may seek to use; or (2)

requires or seeks to require any act or other conduct by a party in interest.

               PLEASE TAKE FURTHER NOTICE that this notice of appearance and any

subsequent appearance, pleading, claim, or suit is not intended nor shall be deemed to waive the

rights of AT&T: (1) to have an Article III judge adjudicate in the first instance any case,

proceeding, matter, or controversy as to which a bankruptcy judge may not enter a final order or

judgment consistent with Article III of the United States Constitution; (2) to have final orders in

a non-core case, proceeding, matter, or controversy entered only after an opportunity to object to

proposed findings of fact and conclusions of law and a de novo review by a district court judge;



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(3) to trial by jury in any case, proceeding, matter, or controversy so triable; (4) to have the

reference withdrawn by the United States District Court in any case, proceeding, matter, or

controversy subject to mandatory or discretionary withdrawal; or (5) any other rights, claims,

actions, defenses, setoffs, or recoupments to which AT&T is or may be entitled under

agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments expressly are hereby reserved. For the avoidance of doubt, filing this notice is not

intended as, and shall not be, AT&T’s consent to the entry of final orders and judgments in any

case, proceeding, matter, or controversy if it is determined that the Court, absent consent of

AT&T consistent with Article III of the United States Constitution.



Dated: April 24, 2019                      MORRIS NICHOLS ARSHT & TUNNELL LLP
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                                           including without limitation DIRECTV, LLC




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